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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


  ATLANTIC RECORDING
  CORPORATION, LAFACE RECORDS
  LLC, SONY MUSIC ENTERTAINMENT,
  UMG RECORDINGS, INC., WARNER
  BROS. RECORDS INC., ARISTA
  MUSIC, ARISTA RECORDS LLC, BAD
  BOY RECORDS LLC, CAPITOL
  RECORDS, LLC, ELEKTRA
  ENTERTAINMENT GROUP INC., ROC-
  A-FELLA RECORDS, LLC, SONY
  MUSIC ENTERTAINMENT US LATIN
  LLC, and ZOMBA RECORDING LLC,,

                       Plaintiff,                     CIVIL ACTION FILE

  vs.                                                 NO. 1:17-CV-00431-AT

  SPINRILLA, LLC and JEFFERY DYLAN
  COPELAND,,

                       Defendant.


                                    JUDGMENT

        This action having come before the court, Honorable Amy Totenberg, United

States District Judge, for consideration of defendant’s offer of judgment and the

plaintiff’s acceptance of said offer, and the court having approved said offer and

acceptance and having directed that judgment be entered, it is

        Ordered and Adjudged

1. Judgment shall be entered in favor of Plaintiffs and against Defendants jointly
and severally in the amount of $50,000,000, inclusive of any recoverable costs and
attorneys’ fees.

2. Pursuant to Federal Rule of Civil Procedure 65(d), 28 U.S.C. § 1651, and this
Court’s inherent equitable powers, Defendants and their officers, agents, servants,
and employees, and all persons in active concert or participation with them who
have actual knowledge of this Offer of Judgment, if entered by the Court, by
service, notice, or otherwise (including but not limited to any person or entity that
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hosts any servers through which the service, or any aspect thereof, that Defendants
offer or have ever offered at the website located at https://spinrilla.com or through
mobile applications on the iOS or Android platforms (the “Spinrilla Service”), but
excluding counsel for the Parties), shall be permanently RESTRAINED and
ENJOINED from each of the following, anywhere in the world:

a. Operating the Spinrilla Service or any other website, platform, system, or
application that Defendants (or either of them) own or control, directly or
indirectly, that is substantively similar to the Spinrilla Service;
b. Directly or indirectly operating, assisting in, facilitating, or supporting the
Spinrilla Service or any substantively similar service or any part thereof, including
without limitation engaging in the following activities, except as otherwise
expressly agreed in writing by Plaintiffs: (i) operating or assisting in the operation
of any computers, servers, or software that in any manner assist in or support the
operation of the Spinrilla Service or any substantively similar service; (ii) any use
of any domain that includes the term “Spinrilla,” or any substantively or
confusingly similar terms; or (iii) in any way profiting or benefitting from the
Spinrilla Service or any substantively similar service

c. Directly or indirectly, in any manner whatsoever, using, exploiting, selling,
licensing, leasing, assigning, loaning, bartering, transferring, conveying,
hypothecating, encumbering, pledging, or distributing, for consideration or
otherwise, any hardware, software, source code, technology, intellectual property,
or goodwill related to or associated with the Spinrilla Service or any substantively
similar service, including but not limited to the name “Spinrilla”; and
d. Otherwise knowingly infringing, knowingly causing to be infringed, or
knowingly enabling, facilitating, encouraging, promoting, inducing, or
participating in the infringement of, any copyright owned or controlled by any of
the Plaintiffs or any of their direct or indirect record company affiliates.

3. Defendants shall have five (5) days from notice of entry by the Court of this
Offer of Judgment to come into compliance with the terms set forth in the
preceding paragraph without being in violation of said judgment.
4. Defendants shall transfer the domain name https://spinrilla.com to the Plaintiffs
in accordance with the terms of the confidential Settlement Agreement and Release
among the parties (the “Settlement Agreement”).

5. Pursuant to Federal Rule of Civil Procedure 65(d), 28 U.S.C. § 1651, and this
Court’s inherent equitable powers, and in order to give practical effect to the
foregoing provisions of this Offer of Judgment, all persons, other than Defendants,
themselves, and their attorneys, in active concert or participation with Defendants
or their officers, agents, servants, or employees, who have actual knowledge of this
Offer of Judgment, if entered by the Court, by service, notice, or otherwise
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(including without limitation any domain name registrars and registries), shall be
permanently RESTRAINED and ENJOINED from allowing the continued use by
anyone other than Plaintiffs or their assigns, or the transfer to any person other than
Plaintiffs or their assigns, of the domain name https://spinrilla.com. To the extent
that Defendants or those in active concert or participation with them fail to comply
with this Offer of Judgment, if entered by the Court, then in addition to any other
recourse or remedy that Plaintiffs may have for breach of the Settlement
Agreement and violation of said judgment, any and all registrars and registries for
the domain https://spinrilla.com shall promptly, within not more than twenty-four
(24) hours, disable the https://spinrilla.com domain, through a registry hold or
otherwise, and prevent its transfer to anyone other than Plaintiffs, and further shall,
within thirty (30) days of receipt of notice of this Offer of Judgment, if entered by
the Court, change the Registrar of Record for the https://spinrilla.com domain to a
Registrar of Plaintiffs’ choosing.

6. Defendants shall make the settlement payment required by the Settlement
Agreement in accordance with the terms of the Settlement Agreement, which is
inclusive of any recoverable costs and attorneys’ fees.
7. This Offer of Judgment, if entered by the Court, shall be a final judgment for
purposes of disposition of this action.
8. The Court shall maintain continuing jurisdiction over this action and the Parties
for the purpose of enforcing this Offer of Judgment, if entered by the Court, and
for the purpose of enforcing the Parties’ Settlement Agreement. Pursuant to the
terms of the Settlement Agreement, the Parties shall file a satisfaction of judgment
on or before the one-hundred-ninety-third (193rd) day following the conveyance of
all deliverables contemplated by the Settlement Agreement, at which point the
Court shall not maintain jurisdiction over Paragraph 1 of this Offer of Judgment, if
entered by the Court.
9. Plaintiffs are not required to post any bond or security in connection with the
injunctive relief in this Offer of Judgment, if entered by the Court, and Defendants
permanently, irrevocably, and fully waive any right to request a bond or any other
security.
10. To accept this Offer of Judgment, Plaintiffs must serve written notice of
acceptance thereof to counsel for Defendants within fourteen (14) days of the date
this Offer of Judgment is served on Plaintiffs’ counsel.

11. If Plaintiffs decline this Offer of Judgment, Plaintiffs may become obligated to
pay Defendants’ costs incurred after making this Offer of Judgment .

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       Dated at Atlanta, Georgia, this 3rd day of May, 2023.
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                                               KEVIN P. WEIMER
                                               CLERK OF COURT


                                          By: s/ D. Burkhalter
                                                Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
May 3, 2023
Kevin P. Weimer
Clerk of Court

By:   s/D. Burkhalter
      Deputy Clerk
